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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re:                                                      Chapter 11

     FRANCHISE GROUP, INC., et al.,1                             Case No. 24-12480 (JTD)

                                   Debtors.                      (Jointly Administered)


                                      CERTIFICATE OF PUBLICATION

       I, Moheen Ahmad, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

      This Certificate of Publication includes certification verifying that the Notice of Deadline
For The Filing of Proofs of Claim, Including For Claims Asserted Under Section 503(B)(9) Of
The Bankruptcy Code, as conformed for publication, was published on December 31, 2024, in The
New York Times, as described in the proof of publication attached hereto as Exhibit A.


Dated: January 7, 2025
                                                                                      /s/ Moheen Ahmad
                                                                                       Moheen Ahmad




1
    The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
    to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
    Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
    Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
    American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
    Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
    (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
    (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
    Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet,
    LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
    Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968),
    Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
    Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490),
    Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
    (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
    Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
    (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
    Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a),
    PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
    Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
    The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.



                                                                                                               SRF 84810
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                      Exhibit A
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The NewYorkTimes
Company




620 8th Avenue
                         PROOF OF PUBLICATION
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                                                                                                                                                   January 2, 2025



                        I, Larnyce Tabron, in my capacity as a Principal Clerk of the Publisher
                        of The New York Times, a daily newspaper of general circulation
                        printed and published in the City, County, and State of New York,
                        hereby certify that the advertisement annexed hereto was published in
                        the editions of The New York Times on the following date or dates, to
                        wit on.
                         12/31/2024, NY/NATL, pg B3




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                                                                                 THE NEW YORK TIMES BUSINESS TUESDAY, DECEMBER 31, 2024                                                                               N                        B3



                                                                                             ECONOMY | PERSONAL FINANCE




Carter Warned of Materialism, but It Continued to Grow Unchecked
FROM FIRST BUSINESS PAGE                                                                                                                                                                                 against in his speech. He called for
ing to our better angels, he believed he                                                                                                                                                                 turning down the thermostat in the
could inspire in all of us a sense of thrift                                                                                                                                                             winter and for 20 percent of the nation’s
that would help heal America’s ills:                                                                                                                                                                     energy to come from solar power by
environmental degradation, depend-                                                                                                                                                                       2000 — all these years later, we’ve done
ence on foreign energy, the power of                                                                                                                                                                     neither.
special interests and political extrem-                                                                                                                                                                     “I think in Carter’s mind there was
ism.                                                                                                                                                                                                     some hope,” said Kevin Mattson, a
   For a fleeting moment, Americans                                                                                                                                                                      professor of history at Ohio University
listened. Mr. Carter’s approval ratings                                                                                                                                                                  and the author of a book about Mr.
jumped 11 points within hours.                                                                                                                                                                           Carter’s speech, “What the Heck Are
   But partisans smeared the address —                                                                                                                                                                   You Up To, Mr. President?” “But I think
they almost immediately called it the                                                                                                                                                                    there is profound doubt that we can
“malaise speech” — and pilloried Mr.                                                                                                                                                                     muster the strength to do something
Carter, saying he was blaming Ameri-                                                                                                                                                                     about a problem that could destroy the
cans for problems that they hadn’t                                                                                                                                                                       planet.”
created and that presidents were sup-                                                                                                                                                                       It seems unlikely that politicians
posed to solve.                                                                                                                                                                                          today would give a speech anything like
   Everything that happened after the                                                                                                                                                                    Mr. Carter’s address. That would vio-
speech — from persistent inflation to                                                                                                                                                                    late the vague but powerful principle
the Iranian hostage crisis — wiped                                                                                                                                                                       that American exceptionalism should
away any warm feelings the voters had.                                                                                                                                                                   not be questioned — that the answer to
He lost his re-election bid in a landslide                                                                                                                                                               every national problem of any import is
to Ronald Reagan 16 months later, at                                                                                                                                                                     blunt-force innovation.
the dawn of a decade that glamorized                                                                                                                                                                        But it really isn’t always the answer,
materialism like few if any that had                                                                                                                                                                     and Mr. Carter knew it. After voters
come before it.                                                                                                                                                                                          determined that he was not the kind of
   The decades that followed have                                                                                                                                                                        president they wanted, he demonstrat-
shown that Mr. Carter had the diagnosis                                                                                                                                                                  ed a mostly humble form of public
right. Materialism has become epi-                                                                                                                                                                       service: As he maintained an interna-
demic — endemic, even. We mostly fail                                                                                                                                                                    tional diplomatic profile, he led Bible
to ask ourselves one searching, overar-                                                                                                                                           MAO/ASSOCIATED PRESS
                                                                                                                                                                                                         study sessions and built houses with
ching question: How much is enough?                                                                                                                                                                      Habitat for Humanity.
                                               A college student at a gas station watched President Jimmy Carter’s speech during the height of the nation’s energy crisis in July 1979.
   Mr. Carter misread the nation in                                                                                                                                                                         “Maybe seeing the kind of work that
thinking that we would look within and                                                                                                                                                                   he did after his presidency is another
without and then answer. In fact, there        pressed,” said Mr. Kasser, an emeritus          ing,” said Alison Hulme, associate pro-                  haven’t exactly passed with flying               sign of hope,” Professor Mattson said.
is little about our patterns since his         professor of psychology at Knox Col-            fessor of social and cultural change at                  colors.                                          “That someone can make an impact by
address to suggest that we wish to             lege and the author of “The High Price          the University of Northampton in Eng-                      A considerable minority of Ameri-              being a citizen activist rather than by
earn, own and consume less, or that we         of Materialism.”                                land and the author of “A Brief History                  cans resented staying home and wear-             being president.”
have awakened to the fact that having,            The lingering belief that Mr. Carter’s       of Thrift.”                                              ing masks during the early, uncertain               We as individuals cannot block the
buying and using more may fail to              presidency was a failed one casts its              And so we got the opposite of what                    stages of the coronavirus pandemic,              sun or bridge the racial wealth gap. But
make us happier.                               own cloud over the “Crisis of Confi-            Mr. Carter wished for. Yuppies arrived                   amid ongoing protestations of a so-              we can do something — 5 or 10 or 20
   Consider how our children feel after        dence” speech, but whatever ailed the           in the 1980s, and the 1990s brought us                   called loss of freedom.                          percent more than we have done be-
we’re mostly done raising and educat-          American psyche was mostly not his              Hummers to guzzle the gas that people                      “The tying together of rights with             fore. Individually, it won’t move the
ing them. The Cooperative Institutional        fault. A nation’s character, like its econ-     had waited in line for 15 years earlier.                 consumption is absolutely rife,” said Dr.        needle much, but change can be catch-
Research Program at the University of          omy, is never the province of a single          In 2001, President George W. Bush                        Hulme, whose academic research fo-               ing.
California, Los Angeles, surveys first-        leader. Nevertheless, Mr. Carter’s              wanted us to get back to our daily rou-                  cuses on both of those topics. “This                “I think of the knock-on effects it can
year college students every year. The          words were easy political pickings.             tines and fly to Disney World after the                  drives me insane,” she added.                    have,” Dr. Hulme said. “It’s more about
percentage who named being “very                  Mr. Reagan used Mr. Carter’s call for        Sept. 11 attacks. And the Obama admin-                     Mr. Kasser watched these develop-              a kind of culture change that can poten-
well off financially” as an important          moderation as a kind of anvil to define         istration couldn’t bear to slice away at a               ments with a sense of foreboding, be-            tially lead to larger groups of people
goal doubled from 1967 to 2019. Those          the sitting president. “Are you better off      whopping tax break that makes it much                    cause his research has shown that                questioning their own lifestyle.”
who wanted to develop a “meaningful            now than you were four years ago?”              easier for affluent families to spend                    higher levels of materialism are associ-            One way to begin is with a redefini-
philosophy of life” decreased by nearly        Mr. Reagan asked. “Is it easier for you         $400,000 per child on college.                           ated with societal instability. The pan-         tion of thrift, a word that comes from
half.                                          to go and buy things in the stores than            Since then, the rise of social media                  demic only turned up the heat on a               similar root words as thrive. What if we
   Research by Tim Kasser and Jean             it was four years ago?”                         has been marked, among other dread-                      roiling cauldron of social problems:             cast it, as the author Ramit Sethi does,
Twenge showed that materialism                    As Jonathan Alter wrote in “His Very         ful things, by lifestyle braggadocio and                 growing economic inequality, horrific            as a relentless focus on spending well
among 12th graders increased over              Best,” his excellent biography of Mr.           algorithms fine-tuned to serve scarily                   episodes of racism, worsening political          on a few things that make us happiest
time, peaking in the late 1980s and            Carter, “The politics of candor were            relevant ads. And then a man who                         divides and a deep mistrust in the               and then radically paring back on the
early 1990s with Generation X, and then        terrible.”                                      named a gold-tinged tower after him-                     legitimacy of our elections.                     things that matter less?
stayed at those historically high levels          Mr. Carter’s wise counsel made him           self became our president.                                 “And it’s not like advertising let up,”           “I want people to change the way
among millennials.                             an easy mark for anyone inclined to                Rarely has there been an acute need                   he said.                                         they live because it might be nicer for
   “There was a trend underway at the          criticize him as a finger-wagging scold.        for collective financial sacrifice during                  We will be tested again. Next time it          them,” Dr. Hulme said.
time Carter was making this speech,               “If you have concerns about con-             these last few decades, or much of any                   may be a climate-related catastrophe,               Eventually, we’re going to have to try.
and it basically just amplifies in the         sumption in society, it’s very difficult        other kind of national sacrifice for that                driven in part by the very patterns of           And the longer we wait, the harder it
next 10 years rather than being sup-           not to sound moralizing and patroniz-           matter. When a test has arrived, we                      consumption that Mr. Carter warned               will be.




Worried About Stock Market Turmoil Under Trump? Look to the Past for Clues.
FROM FIRST BUSINESS PAGE                                                                                                                                                and consult with a professional (fi-   immediate annuity, where you
behavior, but they can inform                                                                                                                                           duciary only) adviser if you have      make a lump-sum payment to an
ours.                                                                                                                                                                   questions about whether you’re         insurance company in exchange
   Let’s rewind to the coronavirus                                                                                                                                      too exposed to stocks.                 for a guaranteed stream of life-
pandemic, when most of the econ-                                                                                                                                           Trimming back your exposure         time income.
omy ground to a halt — a situation                                                                                                                                      isn’t your only option, either. Milo      “There are ways to create di-
that easily qualified as a “this time                                                                                                                                   Benningfield, a certified financial    verse income streams that make a
is different” moment. The market                                                                                                                                        planner in San Francisco, sug-         plan much stronger,” Mr. Benning-
reacted in kind: The S&P 500                                                                                                                                            gested creating a cash cushion —       field said, “both financially and
plunged 34 percent in late March                                                                                                                                        a minimum of one year’s worth of       psychologically.”
2020 after hitting a high on Feb. 19.                                                                                                                                   expenses, if you possibly can — to        Families who are invested in
   Vanguard studied what hap-                                                                                                                                           serve as a financial and emotional     college savings plans like 529s
pened to thousands of its retail in-                                                                                                                                    buffer between you and the fluctu-     should check their investments,
vestors who panicked during that                                                                                                                                        ating markets. Having more cash        too. Target-enrollment mutual
moment, just as the pandemic un-                                                                                                                                        outside the retirement portfolio,      funds are often used in those ac-
folded. Fewer than 1 percent of                                                                                                                                         he said, enables retirees to take      counts — a mix of stock and bonds
those people fled stocks for cash,                                                                                                                                      more risk inside the portfolio.        that automatically becomes more
but of those who did, the vast ma-                                                                                                                                         “In general, we’re fans of ample    conservative as enrollment day
jority, or 86 percent, earned lower                                                                                                                                     cash reserves, at all times, since     approaches — but their risk levels
returns during the three and a half                                                                                                                                     they’re a lot more effective for in-   can vary.
months that followed than if they                                                                                                                                       sulating retiree finances than try-       A 12-year-old aiming to enter
had just remained invested, ac-                                                                                                                                         ing to dial back stocks,” he said.     college in 2030 would have 42.6
cording to its analysis, which                                                                                                                                             Retirees who have a lot riding      percent in stocks if the money
looked at the period from Feb. 19                                                                                                                                       on the markets’ performing well        were invested in Vanguard’s 2030
to May 31, 2020. That included the                                                                                                                                      in order to meet their goals might     target enrollment fund, but 52.5
34 percent market plunge, and                                                                                                                                           want to consider purchasing an         percent in stocks at T. Rowe Price.
subsequent 36 percent rise, which
these investors missed.
   Ultimately, the S&P 500 gained
16 percent by the end of that first
pandemic year, and soared more
than 25 percent in 2021.
   Indeed, the difficulty that fol-
lows fear-based selling is figuring
out when exactly it is “safe” to get
back into the water. Most people
end up waiting too long, similar to
the investors Vanguard studied,
and miss out when the market
bounces back.
   That can cost investors dearly,
even those who eventually return.
   Consider three hypothetical re-
tirees with identical $500,000
portfolios, consisting of 60 percent
stock funds and 40 percent bonds
— a fairly common allocation for
Vanguard retirees heading into
2020.                                                                                                                                                     KATE DEHLER
   Let’s say each of them reacted
differently to the pandemic
plunge. Here’s what their port-         cant — generating lost wealth well     ment portfolio to ensure that the
folios would have looked like on        into the six figures,” said Andy       mix of stock and bonds is where
Oct. 31, 2024, assuming they re-        Reed, head of investor behavior        you expect it to be.
invested all dividends:                 research in Vanguard’s invest-            “You may have originally set up
   Investor 1. She stayed invested      ment strategy group. He ran the        a thoughtful 60/40 portfolio,” Mr.
throughout the zigs and zags of         numbers using its market hind-         Reed said, referring to the per-
the pandemic.                           sight tool, which lets investors run   centage of money held in stock
   Projected portfolio balance:         portfolio simulations, using actual    and bonds, “but because of mar-
$741,670                                market events, that illustrate         ket movements it may now be 80/
   Investor 2. He panicked and          what would happen if they were to      20.”
sold on March 16, 2020, one of the      move to cash or reinvest.                 Suddenly, you’re in a much risk-
peak moments of volatility. He re-        “We find people tend to be out of    ier position than you had thought,
mained in cash, missing out on all      the market longer than they antic-     even more so since you’re proba-
gains had he reinvested.                ipated,” he added.                     bly closer to needing the money
   Projected portfolio balance:           Selling can feel like the right      than when you last checked your
$471,514                                thing to do in moments of uncer-       allocation.                                    Restrnts., Bars & Clubs     3440
   Investor 3. She also panicked,       tainty. And if you do need the            If you’re working with a finan-                    BUSINESS FOR SALE
selling entirely to cash at the peak    money in the short term — for col-     cial planner on an ongoing basis              98 YEAR OLD FAMILY OWNED RES-
                                                                                                                             TAURANT SPECIALIZING IN APPLE-
of volatility, but reinvested as the    lege tuition in a few years, for ex-   or using a robo-adviser, either one           WOOD SMOKED BARBEQUE. LO-
                                                                                                                             CATED IN NE PA ON A BUSY HIGHW-
market rebounded in late May.           ample — much of it probably            should be regularly rebalancing               AY. TURN KEY OPERATION WITH
                                                                                                                             CURRENT OWNER AVAILABLE FOR
   Projected portfolio balance:         shouldn’t be invested in the mar-      your retirement portfolio back to             CONSULTING. BUSINESS EXPAN-
                                        kets anyway.                                                                         SION IS POSSIBLE. OWNER FINANC-
$625,843                                                                       its original stock and bond mix.              ING AVAILABLE FOR THE RIGHT
   “The costs of panicking to cash        There are actions you can and        But the start of a new year is a              CANDIDATE. SERIOUS INQUIRES
                                                                                                                             ONLY. PLEASE TEXT 1-272-447-8630
in 2020 would have been signifi-        should take. Check your invest-        good excuse to take a fresh look              WITH QUESTIONS
